Case 2:OO-cv-O2577-BBD-dkv Document 122 Filed 08/29/05 Page 1 of 2 Page|D 127

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IN THE UNITED STATES DISTRICT COURT 05 AUG 29 PH iv 23
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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KENNETH MOORE,

Plaintiff, Case NO.: 00-2577 D V
V.

DOMINO’S PIZZA, INC.,

Defendant.

 

ORDER

Before the court is Plaintiff’s Motion to Extend Deadlines (Docket #119). Upon review

of the motion and for cause, the motion is granted.

A rule l6(b) scheduling conference is set for Thursday, September 8, 2005, at 9:00 a.In.

IT IS SO ORDERED this gi day ofé¢C F¢ 4 , 2005.

DONALD
TED STATES DISTRICT JUDGE

 
     

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Jirn N. Raines

GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

James W. Hodges
HODGES & HODGES
5100 Poplar Avenue
Ste. 6 1 0

1\/lemphis7 TN 38137

Jonathan C. Hancock
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Gregory D. Cotton
COTTON LAW FIRM
6263 Poplar Avenue
Ste. 1032

1\/lemphis7 TN 38119

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

1\/lemphis7 TN 38104

Honorable Bernice Donald
US DISTRICT COURT

